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                             UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF MAINE


In the matter of:
                                                            Chapter 13
Debra Ann Bradley,                                          Case No. 15-20710

                         Debtor



          TRUSTEE’S OBJECTION TO CONFIRMATION OF AMENDED PLAN

         NOW COMES the standing Chapter 13 trustee, Peter C. Fessenden, by and through his
undersigned staff attorney, and objects to confirmation of the amended plan (docket # 17), as follows:

1.       At the meeting of creditors on January 11, 2016, the trustee requested the following:

             a. A copy of the divorce judgment and documentation of the debt allegedly owed to the
                 Debtor’s former spouse, Kevin Bradley; and

             b. Information about the dates and amounts of possibly avoidable transfers to family
                 members from the Debtor’s Worker’s Compensation settlement and other information
                 that the Debtor asserts show that she was not insolvent at the time of the transfers.

         According to the trustee’s records, he has not yet received the requested information and
         documentation. The trustee’s requests are relevant to whether the plan has been proposed in
         good faith, satisfies the liquidation test, and is feasible as required by 11 U.S.C. §§ 1325(a)(3),
         1325(a)(4), and 1325(a)(6).     Therefore, the trustee repeats his requests and objects to
         confirmation on the basis of §§ 521(a)(3), 1325(a)(3), 1325(a)(4), and 1325(a)(6).

2.       No creditors have yet filed claims. Non-governmental creditor claims are due by February 11,
         2016. Governmental claims are due by Monday, April 11, 2016. None of the claims listed on
         the Debtor’s schedules appear to be governmental in nature. The trustee’s concerns listed in
         the prior paragraph will be moot if there are no allowed creditor claims.

3.       As of today (February 9), the Debtor is current on her payments to the trustee. However, she
         made her January payment today. Another payment of $130 will come due on February 13,
         2016. The Debtor should make her February payment before the plan is confirmed.
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         WHEREFORE, the trustee respectfully requests that this Court deny confirmation of the plan,
together with such other relief as this Court finds just and reasonable.


                                                                     Respectfully Submitted:

Date: February 9, 2016                                               /s/ William H. Sandstead
                                                                     ________________________________
                                                                     WILLIAM H. SANDSTEAD, Esq.
                                                                     PETER C. FESSENDEN, Esq., Trustee
                                                                     Standing Chapter 13 Trustee
                                                                     Post Office Box 429
                                                                     Brunswick, Maine 04011-0429
                                                                     (207) 725-1300


                                         CERTIFICATE OF SERVICE
                                       FOR ELECTRONIC CASE FILING

        I, William Sandstead, Esq., hereby certify that I caused a true and correct copy of the
following document(s) to be served today on the parties listed below as follows:

Document(s) Served: Trustee’s objection, filed herewith

Service electronically via the Court’s ECF system to:

E. Chris L'Hommedieu, Esq., Debtor’s Counsel
Stephen Morrell, Esq., Assistant U.S. Trustee
All other parties listed on N.E.F. as being served electronically.

Service by U.S. first class mail, postage prepaid, to:

Debra Ann Bradley
310 Franklin Street
Rumford, ME 04276

                                                                     Signed:

Date: February 9, 2016                                               /s/ William H. Sandstead
                                                                     _________________________________
                                                                     WILLIAM H. SANDSTEAD, Esq.
                                                                     PETER C. FESSENDEN, Esq., Trustee
                                                                     Standing Chapter 13 Trustee
                                                                     Post Office Box 429
                                                                     Brunswick, Maine 04011-0429
                                                                     (207) 725-1300
